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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA



    JEFFREY MICHELS AND ROBIN
    MICHELS,

         Plaintiffs,                                Case No.:
                                                    ______________________
    v.

    SYNGENTA CROP PROTECTION,                       COMPLAINT FOR DAMAGES
    LLC.; SYNGENTA AG; and
    CHEVRON U.S.A., INC.                            JURY TRIAL DEMANDED

            Defendants.



                                       COMPLAINT

          Plaintiffs, JEFFREY MICHELS and ROBIN MICHELS (hereinafter "Plaintiffs")

brings this Complaint for damages against Defendants Syngenta Crop Protection, LLC;

Syngenta AG; and Chevron U.S.A., Inc., and allege:

                                SUMMARY OF THE CASE

           1. Paraquat is a synthetic chemical compound1 that since the mid-1960s has been

developed, registered, manufactured, distributed, sold for use, and used as an active

ingredient in herbicide products (“paraquat”) developed, registered, formulated,

distributed, and sold for use in the United States, including the State of Minnesota.

          2. Defendants are companies and successors-in-interest to companies that


1
  Paraquat dichloride (EPA Pesticide Chemical Code 061601) or paraquat methosulfate
(EPA Pesticide Chemical Code 061602).
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manufactured, distributed, and sold paraquat for use in the State of Minnesota, acted in

concert with others who manufactured, distributed, and sold paraquat for use in the State of

Minnesota, sold and used paraquat in the State of Minnesota, or owned property in the State

of Minnesota where paraquat was used.

       3. Plaintiff2 brings this suit against Defendants to recover damages for personal

injuries resulting from Plaintiff’s exposure to paraquat over many years in Minnesota.

                                         PARTIES

       A. Plaintiffs

       4. Plaintiff Jeffrey Michels is a citizen and resident of the State of Iowa who suffers

from Parkinson’s disease (“PD”) caused by exposure to paraquat within Stearns County in

the State of Minnesota.

       5. Plaintiff Robin Michels is a citizen and resident of the State of Iowa who has

suffered losses of the services and consortium of Plaintiff Jeffery Michels as a result of

Plaintiff’s illness.

       B. Defendants

       6.       Defendant Syngenta Crop Protection, LLC (“SCPLLC”) is a Delaware

limited liability company with its principal place of business in at 410 South Swing Road,

Greensboro, North Carolina 27409-2012. SCPLLC is a subsidiary of Syngenta Seeds.




2
  Unless otherwise indicated, “Plaintiff” refers to the individual who had direct exposure
to Paraquat.
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       7.       SCPLLC advertises, promotes, markets, sells, and distributes Paraquat and

other herbicides and pesticides to distributors, dealers, applicators, and farmers, including

in the State of Minnesota.

       8.       Defendant Syngenta AG (“SAG”) is a corporation organized and existing

under the laws of Switzerland with its principal place of business at Schwarzwaldallee 215,

4058 Basel-Stadt, Switzerland. SAG was formed in 2000 as a result of the merger of

Novartis Agribusiness and Zeneca Agrochemicals. SAG was a publicly traded company

on the Swiss stock exchange; American Depositary Receipts for SAG were traded on the

New York Stock Exchange until it was acquired by ChemChina, a Chinese state-owned

entity, in 2017. It has since been de-listed. On information and belief, SAG continues to

operate as a separate unit of ChemChina. SAG wholly owns, through its ownership of

Syngenta Seeds, SCPLLC.

       9.       SAG represents itself as a global company. According to Syngenta’s website,

SAG’s Board of Directors “has full and effective control of the company and holds ultimate

responsibility for the company strategy.”

       10.      One or more members of SAG’s Board of Directors or the Executive

Committee established by the Board of Directors also serve as member(s) of the Board of

Directors of SCPLLC and/or Syngenta Seeds.

       11.      SAG’s Executive Committee formulates and coordinates the global strategy

for Syngenta businesses, and maintains central corporate policies requiring Syngenta

subsidiaries, including SCPLLC, to operate under the general guidance of the Syngenta

group control.

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       12.     Employees of the Syngenta group as a whole maintain reporting relationships

that are not defined by legal, corporate relationships, but in fact cross those corporate lines.

       13.     SCPLLC is subject to additional oversight that requires it to seek approval

for certain decisions from higher levels within the functional reporting structure --

including, in some instances, Syngenta AG. SCPLLC’s appointments of senior

management personnel also may require, in some instances, approval from individuals or

governing bodies that are higher than SCPLLC’s board of directors.

       14.     Also, Syngenta AG maintains a central global finance function that governs

SCPLLC, which requires SCPLLC to function under the Syngenta AG umbrella and not

independently.

       15.     In addition, SCPLLC regularly refers to itself as “Syngenta,” with no further

description.

       16.     Chevron U.S.A., Inc. (“CUSA”) is a Pennsylvania corporation with its

principal place of business in San Ramon, California.

                              JURISDICTION AND VENUE

       17.     This Court has personal jurisdiction over SCPLLC because SCPLLC

transacts business in the State of Minnesota and is a corporation doing business within the

State of Minnesota. SCPLLC knows that its Paraquat products are and were sold

throughout the State of Minnesota. In addition, SCPLLC maintains sufficient contacts with

the State of Minnesota such that this Court’s exercise of personal jurisdiction over it does

not offend traditional notions of fair play and substantial justice. Specific to this case,

SCPLLC engaged in the business of developing, manufacturing, testing, packaging,

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marketing, distributing, and labeling pesticides containing Paraquat in Minnesota, and

making a lawsuit by a person injured by Paraquat in Minnesota foreseeable. SCPLLC

purposefully availed itself of the privilege of conducting activities within this District, thus

invoking the benefits and protections of its laws.

       18.    This Court has personal jurisdiction over SAG because, for the reasons

alleged above, the jurisdictional contacts of SCPLLC in this state are attributable to SAG

because of the unusually high degree of control SAG exercises over these subsidiaries. In

addition, on information and belief, SAG and SCPLLC acted in concert under agreements

or other arrangements to act in a collective manner and/or as joint venturers regarding the

actions and events made the subject of this Complaint. SAG and SCPLLC are therefore

jointly and severally liable for the acts for which the Plaintiff complains.

       19.    This Court has personal jurisdiction over CUSA because CUSA advertised

and sold goods, specifically pesticides and herbicides containing Paraquat, throughout the

State of Minnesota. It derived substantial revenue from goods and products used in this

state. It expected its acts to have consequences within the State of Minnesota, including the

foreseeable possibility of a lawsuit by a person injured by Paraquat, and derived substantial

revenue from interstate commerce. CUSA purposefully availed itself of the privilege of

conducting activities within the State of Minnesota, thus invoking the benefits and

protections of its laws.

       20.    Venue is proper in this District pursuant to 28 U.S.C. § 1391 in that a

substantial part of the events or omissions giving rise to Plaintiff’s claims occurred in this



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District. Specifically, the claims arose from injuries caused by Plaintiff’s exposure to

Paraquat, which was marketed, distributed, sold, purchased and applied in this District.

       21. The amount in controversy between Plaintiffs and Defendants exceeds

$75,000.00, exclusive of interest and cost.

             TOLLING OF APPLICABLE STATUE OF LIMITATIONS

   A. DISCOVERY RULE TOLLING

       22.    Plaintiff did not know and had no way of knowing about the risk of serious

illness associated with exposure to Paraquat until after January 2021.

       23.    Within the time period of any applicable statutes of limitations, Plaintiff

could not have discovered, through the exercise of reasonable diligence, that exposure to

Paraquat is injurious to human health.

       24.    Plaintiff did not discover and did not know the facts that would cause a

reasonable person to suspect the risks associated with exposure to Paraquat; nor would a

reasonable and diligent investigation by Plaintiff have disclosed that Paraquat would cause

or had caused Plaintiff’s injuries.

       25.    For these reasons, all applicable statutes of limitations have been tolled by

operation of the discovery rule with respect to Plaintiff’s claims.

   B. FRAUDULENT CONCEALMENT TOLLING

       26.    All applicable statutes of limitations have also been tolled by Defendants’

knowing and active fraudulent concealment and denial of the facts alleged herein

throughout the time period relevant to this action.



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       27.     Instead of disclosing critical safety information about Paraquat, Defendants

consistently and falsely represented the safety of Paraquat, and those false representations

prevented Plaintiff from discovering this claim.

   C. ESTOPPEL

       28.     Defendants were under a continuous duty to disclose to consumers, users,

and other persons coming into contact with its products, including Plaintiff, accurate safety

information concerning its products and the risks associated with the use of and/or exposure

to Paraquat.

       29.     Instead, Defendants knowingly, affirmatively, and actively concealed safety

information concerning Paraquat and the serious risks associated with the use of and/or

exposure to its products.

       30.     Based on the foregoing, Defendants are estopped from relying on any statutes

of limitations in defense of this action.

                               FACTUAL ALLEGATIONS

   A. DEFENDANT SCPLLC AND SAG

       31.     In 1926, four British chemical companies merged to create the British

company that then was known as Imperial Chemical Industries Ltd. and ultimately was

known as Imperial Chemical Industries PLC (“ICI”).

       32.     In or about 1971, ICI created or acquired a wholly owned U.S. subsidiary

organized under the laws of the State of Delaware, which at various times was known as

Atlas Chemical Industries Inc., ICI North America Inc., ICI America Inc., and ICI United

States Inc., and ultimately was known as ICI Americas Inc. (collectively “ICI Americas”).

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       33.    In or about 1992, ICI merged its pharmaceuticals, agrochemicals, and

specialty chemicals businesses, including the agrochemicals business it had operated at one

time through a wholly owned British subsidiary known as Plant Protection Ltd. and later as

a division within ICI, into a wholly owned British subsidiary known as ICI Bioscience Ltd.

       34.    In 1993, ICI demerged its pharmaceuticals, agrochemicals, and specialty

chemicals businesses, from which it created the Zeneca Group, with the British company

Zeneca Group PLC as its ultimate parent company.

       35.    After ICI’s demerger and creation of the Zeneca Group, Zeneca Ltd.’s

Central Toxicology Laboratory continued to perform and hire others to perform health and

safety studies that were submitted to EPA to secure and maintain the registration of paraquat

and other pesticides for use in the United States.

       36.    As a result of ICI’s demerger and creation of the Zeneca Group, ICI Americas

was demerged from ICI and merged into, renamed, or continued its business under the same

or similar ownership and management as Zeneca, Inc. (“Zeneca”), a wholly owned

subsidiary of Zeneca Group PLC organized under the laws of the State of Delaware.

       37.    In 1996, the Swiss pharmaceutical and chemical companies Ciba-Geigy Ltd.

and Sandoz AG merged to create the Novartis Group, with the Swiss company Novartis

AG as the ultimate parent company.

       38.    As a result of the merger that created the Novartis Group, Ciba-Geigy

Corporation, a wholly owned subsidiary of Ciba-Geigy Ltd. organized under the laws of the

State of New York, was merged into or continued its business under the same or similar

ownership and management as Novartis Crop Protection, Inc. (“NCPI”), a wholly owned

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subsidiary of Novartis AG organized under the laws of the State of Delaware.

       39.    In 1999, the Swedish pharmaceutical company Astra AB merged with

Zeneca Group PLC to create the British company AstraZeneca PLC, of which Zeneca Ltd.

and Zeneca were wholly owned subsidiaries.

       40.    In 2000, Novartis AG and AstraZeneca PLC spun off and merged the

Novartis Group’s crop protection and seeds businesses and AstraZeneca’s agrochemicals

business to create the Syngenta Group, a global group of companies focused solely on

agribusiness, with Defendant Syngenta AG (“SAG”) as the ultimate parent company.

       41.    As a result of the Novartis/AstraZeneca spinoff and merger that created the

Syngenta Group, Zeneca Ltd. was merged into, renamed, or continued its business under

the same or similar ownership and management as Syngenta Ltd., a wholly owned British

subsidiary of SAG.

       42.    As a result of the Novartis/AstraZeneca spinoff and merger that created the

Syngenta Group, Zeneca Ltd.’s Central Toxicology Laboratory became Syngenta Ltd.’s

Central Toxicology Laboratory.

       43.    Since the Novartis/AstraZeneca spinoff and merger that created the Syngenta

Group, Syngenta Ltd.’s Central Toxicology Laboratory has continued to perform and hire

others to perform health and safety studies for submission to the EPA to secure and

maintain the registration of paraquat and other pesticides for use in the United States.

       44.    As a result of the Novartis/AstraZeneca spinoff and merger that created the

Syngenta Group, NCPI and Zeneca were merged into and renamed, or continued to do their

business under the same or similar ownership and management, as Syngenta Crop

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Protection, Inc. (“SCPI”), a wholly owned subsidiary of SAG organized under the laws of

the State of Delaware.

       45.    In 2010, SCPI was converted into Defendant Syngenta Crop Protection LLC

(“SCPLLC”), a wholly owned subsidiary of SAG organized and existing under the laws of

the State of Delaware with its principal place of business in Greensboro, North Carolina.

      46.     SAG is a successor in interest to the crop-protection business of its corporate

predecessor Novartis AG.

      47.     SAG is a successor in interest to the crop-protection business of its corporate

predecessor AstraZeneca PLC.

      48.     SAG is a successor in interest to the crop-protection business of its

corporate predecessor Zeneca Group PLC.

      49.     SAG is a successor in interest to the crop-protection business of its corporate

predecessor Imperial Chemical Industries PLC, previously known as Imperial Chemical

Industries Ltd.

       50.    SAG is a successor in interest to the crop-protection business of its

corporate predecessor ICI Bioscience Ltd.

      51.     SAG is a successor in interest to the crop-protection business of its corporate

predecessor Plant Protection Ltd.

      52.     SCPLLC is a successor in interest to the crop-protection business of its

corporate predecessor SCPI.

      53.     SCPLLC is a successor in interest to the crop-protection business of its

corporate predecessor NCPI.

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      54.     SCPLLC is a successor in interest to the crop-protection business of its

corporate predecessor Ciba-Geigy Corporation.

      55.     SCPLLC is a successor in interest to the crop-protection business of its

corporate predecessor Zeneca Inc.

      56.     SCPLLC is a successor by merger or continuation of business to its corporate

predecessor ICI Americas Inc., previously known as Atlas Chemical Industries Inc., ICI

North America Inc., ICI America Inc., and ICI United States Inc.

      57.     SCPLLC does substantial business in the State of Minnesota, including the

following:

              a. markets, advertises, distributes, sells, and delivers paraquat and
              other pesticides to distributors, dealers, applicators, and farmers in the
              State of Minnesota;

              b. secures and maintains the registration of paraquat and other
              pesticides with the EPA and the State of Minnesota to enable itself and
              others to manufacture, distribute, sell, and use these products in the
              State of Minnesota; and

              c. performs, hires others to perform, and funds or otherwise sponsors
              or otherwise funds the testing of pesticides in the State of Minnesota.

      58.     SAG is a foreign corporation organized and existing under the laws of

Switzerland, with its principal place of business in Basel, Switzerland.

      59.     SAG is a holding company that owns stock or other ownership interests,

either directly or indirectly, in other Syngenta Group companies, including SCPLLC.

       60.    SAG is a management holding company.

      61.     Syngenta Crop Protection AG (“SCPAG”), a Swiss corporation with its

principal place of business in Basel, Switzerland, is one of SAG’s direct, wholly owned

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subsidiaries.

       62.      SCPAG employs the global operational managers of production, distribution,

and marketing for the Syngenta Group’s Crop Protection (“CP”) and Seeds Divisions.

       63.      The Syngenta Group’s CP and Seeds Divisions are the business units through

which SAG manages its CP and Seeds product lines.

       64.      The Syngenta Group’s CP and Seeds Divisions are not and have never been

corporations or other legal entities.

       65.      SCPAG directly and wholly owns Syngenta International AG (“SIAG”).

       66.      SIAG is the “nerve center” through which SAG manages the entire Syngenta

Group.

       67.      SIAG employs the “Heads” of the Syngenta Group’s CP and Seeds

Divisions.

       68.      SIAG also employs the “Heads” and senior staff of various global functions

of the Syngenta Group, including Human Resources, Corporate Affairs, Global Operations,

Research and Development, Legal and Taxes, and Finance.

       69.      Virtually all of the Syngenta Group’s global “Heads” and their senior staff

are housed in the same office space in Basel, Switzerland.

       70.      SAG is the indirect parent of SCPLLC through multiple layers of corporate

ownership:

                a. SAG directly and wholly owns Syngenta Participations AG;

                b. Syngenta Participations AG directly and wholly owns Seeds JV C.V.;

                c. Seeds JV C.V. directly and wholly owns Syngenta Corporation;

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              d. Syngenta Corporation directly and wholly owns Syngenta Seeds, LLC;

              e. Syngenta Seeds, LLC directly and wholly owns SCPLLC.

       71.    Before SCPI was converted to SCPLLC, it was incorporated in Delaware,

had its principal place of business in North Carolina, and had its own board of directors.

       72.    SCPI’s sales accounted for more than 47% of the sales for the entire Syngenta

Group in 2019.

       73.    SAG has purposefully organized the Syngenta Group, including SCPLLC, in

such a way as to attempt to evade the authority of courts in jurisdictions in which it does

substantial business.

       74.    Although the formal legal structure of the Syngenta Group is designed to

suggest otherwise, SAG in fact exercises an unusually high degree of control over its

country-specific business units, including SCPLLC, through a “matrix management’’

system of functional reporting to global “Product Heads” in charge of the Syngenta Group’s

unincorporated Crop Protection and Seeds Divisions, and to global “Functional Heads” in

charge of human resources, corporate affairs, global operations, research and development,

legal and taxes, and finance.

       75.    The lines of authority and control within the Syngenta Group do not follow

its formal legal structure, but instead follow this global “functional” management structure.

       76.    SAG controls the actions of its far-flung subsidiaries, including SCPLLC,

through this global “functional” management structure.

      77.     SAG’s board of directors has established a Syngenta Executive Committee

(“SEC”), which is responsible for the active leadership and the operative management of

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the Syngenta Group, including SCPLLC.

      78.    The SEC consists of the CEO and various global Heads, which currently are:

             a. The Chief Executive Officer;

             b. Group General Counsel;

             c. The President of Global Crop Protection;

             d. The Chief Financial Officer;

             e. The President of Global Seeds; and

             f.   The Head of Human Resources;

      79.    SIAG employs all of the members of the Executive Committee.

      80.    Global Syngenta Group corporate policies require SAG subsidiaries,

including SCPLLC, to operate under the direction and control of the SEC and other

unincorporated global management teams.

      81.    SAG’s board of directors meets five to six times a year.

      82.    In contrast, SCPI’s board of directors rarely met, either in person or by

telephone, and met only a handful of times over the last decade before SCPI became

SCPLLC.

      83.    Most, if not all, of the SCPI board’s formal actions, including selecting and

removing SCPI officers, were taken by unanimous written consent pursuant to directions

from the SEC or other Syngenta Group global or regional managers that were delivered via

e-mail to SCPI board members.

      84.    Since SCPI became SCPLLC, decisions that are normally made by the board

or managers of SCPLLC in fact continue to be directed by the SEC or other Syngenta

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Group global or regional managers.

      85.     Similarly, Syngenta Seeds, Inc.’s board of directors appointed and removed

SCPI board members at the direction of the SEC or other Syngenta Group global or regional

managers.

      86.     Since SCPI became SCPLLC, the appointment and removal of the

manager(s) of SCPLLC continues to be directed by the SEC or other Syngenta Group global

or regional managers.

       87.       The management structure of the Syngenta Group’s CP Division, of

which SCPLLC is a part, is not defined by legal, corporate relationships, but by functional

reporting relationships that disregard corporate boundaries.

      88.     Atop the CP Division is the CP Leadership Team (or another body with a

different name but substantially the same composition and functions), which includes the

President of Global Crop Protection, the CP region Heads (including SCPLLC President

Vern Hawkins), and various global corporate function Heads.

      89.     The CP Leadership Team meets bi-monthly to develop strategy for new

products, markets, and operational efficiencies and to monitor performance of the Syngenta

Group’s worldwide CP business.

      90.     Under the CP Leadership Team are regional leadership teams, including the

North America Regional Leadership Team (or another body with a different name but

substantially the same composition and functions), which oversees the Syngenta Croup’s

U.S. and Canadian CP business (and when previously known as the NAFTA Regional

Leadership Team, also oversaw the Syngenta Group’s Mexican CP business).

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       91.    The North America Regional Leadership Team is chaired by SCPLLC’s

president and includes employees of SCPLLC and the Syngenta Group’s Canadian CP

company (and when previously known as the NAFTA Regional Leadership Team, also

included employees of the Syngenta Group’s Mexican CP company).

       92.    The Syngenta Group’s U.S. and Canadian CP companies, including

SCPLLC, report to the North America Regional Leadership Team, which reports the CP

Leadership Team, which reports to the SEC, which reports to SAG’s board of directors.

       93.    Some members of the North America Regional Leadership Team, including

some SCPLLC employees, report or have in the past reported not to their nominal superiors

within the companies that employ them, but directly to the Syngenta Group’s global Heads.

       94.    Syngenta Group Global Heads that supervise SCPLLC employees participate

and have in the past participated in the performance reviews of these employees and in

setting their compensation.

       95.    The Syngenta Group’s functional reporting lines have resulted in employees

of companies, including SCPLLC, reporting to officers of remote parent companies,

officers of

affiliates with no corporate relationship other than through SAG, or officers of subsidiary

companies.

       96.    SCPLLC performs its functions according to its role in the CP Division

structure:

              a. CP Division development projects are proposed at the global level,
              ranked and funded at the global level after input from functional
              entities such as the CP Leadership Team and the North America

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              Regional Leadership Team, and given final approval by the SEC;

              b. New CP products are developed by certain Syngenta Group
              companies or functional groups that manage and conduct research and
              development functions for the entire CP Division;

              c. These products are then tested by other Syngenta Group
              companies, including SCPLLC, under the direction and supervision of
              the SEC, the CP Leadership Team, or other Syngenta Group global
              managers;

              d. Syngenta Group companies, including SCPLLC, do not contract
              with or compensate each other for this testing;

              e. Rather, the cost of such testing is included in the testing
              companies’ operating budgets, which are established and approved by
              the Syngenta Group’s global product development managers and the
              SEC;

              f.     If a product shows promise based on this testing and the
              potential markets for the product, either global or regional leaders
              (depending on whether the target market is global or regional), not
              individual Syngenta Group companies such as SCPLLC, decide
              whether to sell the product;

              g. Decisions to sell the product must be approved by the SEC; and

              h. The products that are sold all bear the same Syngenta trademark
              and logo.

       97.    SCPLLC is subject to additional oversight and control by Syngenta Group

global managers through a system of “reserved powers” established by SAG and applicable

to all Syngenta Group companies.

       98.    These “reserved powers” require Syngenta Croup companies to seek

approval for certain decisions from higher levels within the Syngenta Group’s functional

reporting structure.

      99.     For example, although SAG permits Syngenta Croup companies to handle

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small legal matters on their own, under the “reserved powers” system, SAG’s Board of

Directors must approve settlements of certain types of lawsuits against Syngenta Group

companies, including SCPLLC, if their value exceeds an amount specified in the “reserved

powers.”

      100.       Similarly, the appointments of senior managers at SCPLLC must be

approved by higher levels than SCPLLC’s own management, board of directors, or even its

direct legal owner.

      101.       Although SCPLLC takes the formal action necessary to appoint its own

senior managers, this formal action is in fact merely the rubber-stamping of decisions that

have already been made by the Syngenta Group’s global management.

      102.       Although SAG subsidiaries, including SCPLLC, pay lip service to legal

formalities that give the appearance of authority to act independently, in practice many of

their acts are directed or pre-approved by the Syngenta Group’s global management.

      103.       SAG and the global management of the Syngenta Group restrict the

authority of SCPLLC to act independently in areas including:

              a. Product development;

              b. Product testing (among other things, SAG and the global
              management of the Syngenta Group require SCPLLC to use
              Syngenta Ltd.’s Central Toxicology Laboratory to design, perform,
              or oversee product safety testing that SCPLLC submits to the EPA in
              support of the registrations of paraquat and other pesticides);

              c. Production;

              d. Marketing;

              e. Sales;

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             f. Human resources;

             g. Communications and public affairs;

             h. Corporate structure and ownership;

             i. Asset sales and acquisitions;

             j. Key appointments to boards, committees and management

             positions;

             k. Compensation packages;

             l. Training for high-level positions; and

             m. Finance (including day-to-day cash management) and tax.

      104.       Under the Syngenta Group’s functional management system, global

managers initiate, and the global Head of Human Resources oversees, international

assignments and compensation of managers employed by one Syngenta subsidiary to do

temporary work for another Syngenta subsidiary in another country. This international

assignment program aims, in part, to improve Syngenta Group-wide succession planning

by developing corporate talent to make employees fit for higher positions within the global

Syngenta Group of companies.

      105.       Under this international assignment program, at the instance of Syngenta

Group global managers, SCPLLC officers and employees have been “seconded” to work

at other SAG subsidiaries, and officers and employees of other Syngenta Group

subsidiaries have been “seconded” to work at SCPLLC.

      106.       The Syngenta Group’s functional management system includes a central

global finance function—known as Syngenta Group Treasury—for the entire Syngenta

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Group.

       107.       The finances of all Syngenta Group companies are governed by a global

treasury policy that subordinates the financial interests of SAG’s subsidiaries, including

SCPLLC, to the interests of the Syngenta Group as a whole.

       108.       Under the Syngenta Group’s global treasury policy, Syngenta Group

Treasury controls daily cash sweeps from subsidiaries such as SCPLLC, holds the cash on

account, and lends it to other subsidiaries that need liquidity.

       109.       The Syngenta Group’s global treasury policy does not allow SAG

subsidiaries such as SCPLLC to seek or obtain financing from non-Syngenta entities

without the approval of Syngenta Group Treasury.

         110. Syngenta Group Treasury also decides whether SCPLLC will issue a

dividend or distribution to its direct parent company, and how much that dividend will be.

       111.       SCPLLC’s board or management approves dividends and distributions

mandated by Syngenta Group Treasury without any meaningful deliberation.

       112.       SAG, through its agent or alter ego, SCPLLC, does substantial business in

the State of Minnesota, in the ways previously alleged as to SCPLLC.

   B. Defendant Chevron

       113.       Chevron Chemical Company (“Chevron Chemical”) was a corporation

organized in 1928 under the laws of the State of Delaware.

       114.       In 1997, Chevron Chemical was merged into Chevron Chemical

Company LLC (“Chevron Chemical LLC”), a limited liability company organized under

the laws of the State of Delaware.

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      115.       In the mid-2000s, Chevron Chemical LLC was merged into or continued

to operate under the same or similar ownership and management as Chevron Phillips

Chemical Company LP (“CP Chemical”).

      116.       CP Chemical is a successor in interest to the crop-protection business of

its corporate predecessor Chevron Chemical LLC.

      117.       CP Chemical is a successor by merger or continuation of business to its

corporate predecessor Chevron Chemical.

      118.       Defendant Chevron U.S.A. is a corporation organized and existing under

the laws of the State of Delaware, with its principal place of business in the State of

California.

      119.       Defendant Chevron U.S.A. is a successor in interest to the crop-protection

business of its corporate predecessor Chevron Chemical LLC.

      120.       Defendant Chevron U.S.A. is a successor in interest to the crop-protection

business of its corporate predecessor CP Chemical.

      121.       In the mid-2000s, Chevron USA entered into an agreement in which it

expressly assumed the liabilities of Chevron Chemical and Chevron Chemical LLC arising

from Chevron Chemical’s then-discontinued agrichemical business, which included the

design, registration, manufacture, formulation, packaging, labeling, distribution,

marketing, and sale of paraquat products in the United States as alleged in this Complaint.




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     C. Paraquat Development and Sale

         122.      The herbicidal properties of Paraquat were discovered by Imperial

Chemical Industries PLC (“ICI”) in 1955.3

         123.      ICI developed, researched, manufactured, and tested Paraquat through its

Central Toxicology Laboratory in the early 1960s and produced the first chemical paraquat

formulation, which it registered in England and introduced in certain markets under the

brand name GRAMOXONE®, in 1962.

         124.      ICI was awarded a U.S. patent on herbicide formulations containing

paraquat as an active ingredient in 1962.

         125.      ICI’s Central Toxicology Laboratory performed and submitted the health

and safety studies of Paraquat to the United States Department of Agriculture (“USDA”)

and the United States Environmental Protection Agency (“EPA”) to secure and maintain

the registration of Paraquat and other pesticides for use in the United States.

         126.      In or around 1964, ICI entered into a licensing and distribution agreement

with Chevron Chemical Company (“Chevron”) to sell Paraquat in the United States. Under

this ICI-Chevron Agreement, Chevron obtained an exclusive license to the patents and

technical information to permit Chevron to formulate or have formulated, use, and sell

Paraquat under the trade name GRAMOXONE® and other names in the United States and

to sub-license others to do so. Some form of this agreement remained in effect until




3
    Sagar, G.R., Uses and Usefulness of Paraquat, Human Toxicology (1987) 6:1, 7-11.
                                              22
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September 1986 when ICI paid Chevron for the early termination of its rights under the

paraquat licensing and distribution agreement.

       127.        Through a long series of mergers, spin-offs, and related corporate

transactions, ownership of ICI’s Central Toxicology Laboratory was transferred to

Syngenta Ltd., a wholly owned British subsidiary of Syngenta AG. Since that time,

Syngenta Ltd.’s Central Toxicology Laboratory has continued to perform and submit

health and safety studies to the EPA to secure and maintain the registration of Paraquat and

other pesticides in the United States.

       128.        Through the same long series of mergers, spin-offs, and related corporate

transactions, ICI’s agrochemical business was transferred to SCPLLC.

       129.        From approximately September 1986 through the present, Syngenta has:

              a.      manufactured Paraquat for use as an active ingredient in herbicides
                      formulated and distributed for sale and use in the United States,
                      including the State of Minnesota;

              b.      distributed Paraquat for use as an active ingredient in herbicides
                      formulated and distributed for sale and use in the United States,
                      including the State of Minnesota;

              c.      formulated Paraquat products distributed for sale and use in the
                      United States, including the State of Minnesota; and

              d.      distributed Paraquat products for sale and use in the United States,
                      including the State of Minnesota.

       130.        Syngenta, through SCPLLC, is now the leading manufacturer of

Paraquat, which it sells under the brand name GRAMOXONE®.4


4
 Press Release, Federal Trade Commission, FTC Requires China National Chemical
Corporation and Syngenta AG to Divest U.S. Assets as Condition of Merger (April 4,


                                             23
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   D. Paraquat Use

       131.       Paraquat is designed to kill broadleaf weeds and grasses before the

planting or emergence of more than 100 field, fruit, vegetable, and plantation crops, to

control weeds in orchards, and to desiccate (dry) plants before harvest.

       132.       Paraquat products are commonly sprayed multiple times per year on the

same land, particularly when used to control weeds in orchards or on farms with multiple

crops planted on the same land within a single growing season or year, and such use was

as intended, directed, or at least foreseeable.

       133.       Paraquat is typically sold by Defendants to end-users in the form of a

liquid concentrate (and less commonly in the form of granular solids) designed to be diluted

with water before or after loading it into the tank of a sprayer and applied by spraying it

onto target weeds.

       134.       Paraquat concentrate is formulated with one or more “surfactants” to

increase the ability of the herbicide to stay in contact with the leaf, penetrate the leaf’s

waxy surface, and enter into plant cells, and the accompanying instructions typically told

end-users to add a surfactant or crop oil (which typically contains a surfactant) before use.

       135.       Paraquat products are typically applied with a knapsack sprayer, hand-

held sprayer, aircraft (i.e., crop duster), truck with a pressurized tank, or tractor-drawn

pressurized tank, and such use was as intended, directed, or at least foreseeable.




2017),      https://www.ftc.gov/news‐events/press‐releases/2017/04/ftc‐requires‐china‐
national‐chemical‐corporation‐syngenta‐ag.

                                              24
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   E. Paraquat Exposure

       136.      Each year, Paraquat is applied to approximately 15 million acres of

agricultural crops, including corn, soybeans, wheat, cotton, fruit and vegetables, rice,

orchards and grapes, alfalfa, hay, and other crops. The following map demonstrates the

nationwide use of Paraquat in recent years:




                   USGS, Pesticide National Synthesis Project (2020),
https://water.usgs.gov/nawqa/pnsp/usage/maps/show_map.php?year=2017&map=PARA
                           QUAT&hilo=L&disp=Paraquat.

       137.      At all relevant times, it was reasonably foreseeable that applicators of

Paraquat and others nearby would be exposed to it when Paraquat was used in its intended,

directed, and/or foreseeable manner, including mixing, loading, spraying, or cleaning.

       138.      At all relevant times it was reasonably foreseeable that users and others

nearby would be exposed to Paraquat through contact with skin, breathing it in, and/or

ingesting it.


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       139.      Parkinson’s disease is a terrible disease classified as a progressive

neurodegenerative disorder of the brain that affects primarily the motor system, the part of

the central nervous system that controls movement.

       140.      Parkinson’s Disease is now one of the fastest growing neurological

condition diagnoses on the planet.

       141.      In a 2018 study by the Parkinson’s Project, it is estimated that 1.2 million

Americans will have been diagnosed with Parkinson’s by the year 2030.5

       142.      The characteristic symptoms of Parkinson’s disease are its “primary”

motor symptoms: resting tremor (shaking movement when the muscles are relaxed);

bradykinesia (slowness in voluntary movement and reflexes); rigidity (stiffness and

resistance to passive movement); and postural instability (impaired balance).

       143.      Parkinson’s primary motor symptoms typically result in “secondary”

motor symptoms such as freezing of gait; shrinking handwriting; mask-like expression;

slurred, monotonous, quiet voice; stooped posture; muscle spasms; impaired coordination;

difficulty swallowing; and excess saliva and drooling caused by reduced swallowing

movements.

       144.      Non-motor symptoms are present in most cases, often for years before

the primary motor symptoms appear. These non-motor symptoms include, but are not




5
 Marras, C., Beck, J.C., Bower, J.H. et al., Prevalence of Parkinson’s disease across North
America, njp Parkinson's Disease 4: 21 (2018). https://doi.org/10.1038/s41531-018-0058-
0.
                                            26
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limited to: loss of or altered sense of smell; constipation; low blood pressure on rising to

stand; sleep disturbances; and depression.

       145.       There is currently no cure for Parkinson’s disease. Existing treatments do

not slow or stop its progression; such treatments are capable only of temporarily and

partially relieving the motor symptoms. These treatments also have unwelcome side effects

the longer they are used.

       146.       One of the primary pathophysiological hallmarks of Parkinson’s disease

is the selective degeneration and death of dopaminergic neurons (dopamine-producing

nerve cells) in a part of the brain called the substantia nigra pars compacta (“SNpc”).

       147.       Dopamine is a neurotransmitter (a chemical messenger that transmits

signals from one neuron to another neuron, muscle cell, or gland cell) that is critical to the

brain’s control of motor function (among other things).

       148.       The death of dopaminergic neurons in the SNpc decreases the production

of dopamine.

       149.       Once dopaminergic neurons die, the body cannot replace them. When

enough dopaminergic neurons die, dopamine production falls below the level the brain

requires to properly control motor function, thus resulting in the motor symptoms of

Parkinson’s disease.

       150.       The presence of Lewy bodies (insoluble aggregates of a protein called

alpha-synuclein) in many of the remaining dopaminergic Neurons in the SNpc is another

of the primary pathophysiological hallmarks of Parkinson’s disease.



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       151.       Dopaminergic neurons are particularly susceptible to oxidative stress, a

disturbance in the normal balance between oxidants present in cells and cells’ antioxidant

defenses.

       152.   Oxidative stress is a major factor in—if not the precipitating cause of—the

degermation and death of dopaminergic neurons in the SNpc and the accumulation of Lewy

bodies in the remaining dopaminergic neurons that are the primary pathophysiological

hallmarks of Parkinson’s disease.

       153.       Paraquat is highly toxic to plants and animals.

       154.       Paraquat is designed to injure and kill plants by creating oxidative stress,

which causes or contributes to cause the degeneration and death of plant cells.

       155.       Similarly, Paraquat injures and kills animals by creating oxidative stress,

which causes or contributes to cause the degeneration and death of animal cells.

       156.       Paraquat creates oxidative stress in the cells of plants and animals because

of “redox properties” that are inherent in its chemical composition and structure—it is a

strong oxidant and readily undergoes “redox cycling” in the presence of molecular oxygen,

which is plentiful in living cells.

       157.       The redox cycling of Paraquat in living cells interferes with cellular

functions that are necessary to sustain life—with photosynthesis in plant cells and with

cellular respiration in animal cells.

       158.       The redox cycling of Paraquat in living cells creates a “reactive oxygen

species” known as a superoxide radical, an extremely reactive molecule that can initiate a

cascading series of chemical reactions that creates other reactive oxygen species that

                                             28
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damage lipids, proteins, and nucleic acids, which are molecules that are essential

components of the structures and functions of living cells.

       159.      Because the redox cycling of Paraquat can repeat indefinitely in the

conditions typically present in living cells, a single molecule of Paraquat can trigger the

production of countless molecules of destructive superoxide radical.

       160.      Paraquat’s redox properties have been known within the science

community since at least the 1930s.

       161.      The same oxidation and redox potentials that make Paraquat highly toxic

to plant cells and other types of animal cells make Paraquat highly toxic to nerve cells,

including dopaminergic neurons, and create a substantial risk to all persons exposed to

Paraquat.

       162.      The scientific community has known since the 1960s that paraquat is

toxic to the cells of plants, animals, and humans because it creates oxidative stress through

redox cycling.

       163.      The surfactants with which the concentrates containing Paraquat

manufactured, distributed, and sold by Defendants, Defendants’ corporate predecessors,

and others with whom they acted in concert were likely to increase Paraquat’s toxicity to

humans by increasing its ability to stay in contact with or penetrate the skin, mucous

membranes, and other epithelial tissues, including tissues of the mouth, nose and nasal

passages, trachea, and conducting airways, the lungs, and the gastrointestinal tract.

       164.      Because Paraquat is highly poisonous, the form that is marketed in the

United States has a blue dye to keep it from being confused with beverages such as coffee,

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a sharp odor to serve as a warning, and an added agent to cause vomiting if someone drinks

it.

       165.      Paraquat is a “restricted use pesticide” under federal law, see 40 C.F.R. §

152.175, which means it is “limited to use by or under direct supervision of a certified

applicator.”

       166.      The same redox properties that make Paraquat toxic to plant cells and

other types of animal cells make it toxic to dopaminergic neurons. That is, Paraquat is a

strong oxidant that interferes with the function of dopaminergic neurons, damages those

neurons, and ultimately kills them by creating oxidative stress through redox cycling.

       167.      Although Parkinson’s disease is not known to occur naturally in any

species other than humans, Parkinson’s disease research is often performed using “animal

models,” in which scientists use Paraquat to artificially produce the symptoms of

Parkinson’s disease in animal test subjects.

       168.      Paraquat is one of only a handful of toxins that scientists use to produce

animal models of Parkinson’s disease.

       169.      In animal models of Parkinson’s disease, hundreds of studies involving

various routes of exposure have found that Paraquat creates oxidative stress that results in:

the degeneration and death of dopaminergic neurons in the SNpc; other pathophysiology

consistent with that seen in human Parkinson’s disease; and motor deficits and behavioral

changes consistent with those commonly seen in human Parkinson’s disease.

       170.      Hundreds of in vitro studies (experiments in test tube, culture dish, or

other controlled experimental environment) have found that Paraquat creates oxidative

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stress that results in the degeneration and death of dopaminergic neurons (and many other

types of animal cells). Among those, the following are notable:

       171.      In 1994, Dr. Afonso Bainy published a study concluding that paraquat in

vitro exposure led to an increment in the anti-oxidant capacity of the red blood cell.6

       172.   In 2002, Dr. Gabriele Schmuck published a study concluding that cortical

neurons were found to be more sensitive towards paraquat toxicity than astrocytes as shown

by MTT and Neutral Red assay, two different cytotoxicity assays.7

       173.      In 2019, Dr. Liyan Hou published a study showing that paraquat and

maneb exposure induced ferroptosis, a form of regulated cell death, in SHSY5Y

dopaminergic cells.8

       174.      Many epidemiological studies (studies of the patterns and causes of

disease in defined populations) have found an association between Paraquat exposure and

Parkinson’s disease, including multiple studies finding a two- to five-fold or greater

increase in the risk of Parkinson’s disease in populations with occupational exposure to

Paraquat compared to populations without such exposure.

       175.      In June 2011, Dr. Caroline Tanner published a study examining whether

pesticides that cause mitochondrial dysfunction or oxidative stress, including Paraquat,



6
  Bainy, AC, et al, Influence of lindane and paraquat on oxidative stress-related
parameters of erythrocytes in vitro, Human & Experimental Toxicology (1994), 13:7
461-465.
7
  Schmuck, G, et al, Oxidative stress in rat cortical neurons and astrolytes induced by
paraquat in vitro. Neurotoxicity Research (2002) 4:1, 1-13.
8
  Hou L, et al, NADPH oxidase regulates paraquat and maneb-induced dopaminergic
neurodegeneration through ferroptosis, Toxicology (2019), 1:417 64-73.
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were associated with Parkinson’s Disease or clinical features of parkinsonism in humans.9

The study found that Paraquat use plays a role in human Parkinson’s Disease and that

“[b]ecause paraquat remains one of the most widely used herbicide worldwide (Frabotta

2009), this finding potentially has great public health significance.”10

       176.       In November 2012, Dr. Samuel Goldman published a study entitled

“Genetic Modification of the Association of Paraquat and Parkinson’s Disease.”11 The

study found that those who applied Paraquat and had the GSTT1*0 genotype were 11.1

times more likely to develop Parkinson’s disease. Paraquat damages neurons by generating

oxidative stress through redox cycling; the GSTT1 gene encodes an enzyme that prevents

redox cycling. Around 20% of Caucasians do not have the GSTT1 gene and thus have the

GSTT1*0 genotype. The lack of the GSTT1 gene may cause those with the GSTT1*0

genotype to be more vulnerable to Paraquat’s redox cycling mechanism and therefore more

likely to develop Parkinson’s.

       177.       In July 2002, Dr. Alison McCormack published a study examining the

effect of Paraquat on mice.12 The study found that Paraquat injections selectively kill

dopaminergic neurons in the SNpc.




9
  Tanner, Caroline M., et al., Rotenone, paraquat, and Parkinson’s disease. 119 Environ
Health Perspect. 866-872 (2011).
10
   Id.
11
   Samuel M. Goldman et al., Genetic Modification of the Association of Paraquat and
Parkinson’s Disease, 27 Mov.t Disord. 1652-1658 (2012).
12
   Alison L. McCormack et al., Environmental Risk Factors and Parkinson’s Disease:
Selective Degeneration of Dopaminergic Neurons Caused by the Herbicide Paraquat 10
Neurobiol. Dis. 119-127 (2002).
                                             32
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      178.       Dr. Robert Nisticó published a study in April 2011 that concluded that

Paraquat causes the cell death of dopaminergic neurons within the substantia nigra,

serotonergic neurons within the raphe nuclei, and noradrenergic neurons within the locus

coeruleus.13 The researchers noted that Parkinson’s pathology begins in the SNpc and

“progressively involves noradrenergic and serotonergic neurons within the locus coeruleus

and raphe nuclei.”

      179.       In December 2011, Dr. Phillip Rappold published a study demonstrating

how Paraquat entered dopaminergic neurons and killed the neurons through oxidative

stress.14 Paraquat converted to PQ+, which entered dopaminergic neurons through their

dopamine transporters. PQ+ then also reacted with dopamine, which enhanced the

Paraquat-induced oxidative stress. The researchers argued that dopaminergic neurons are

more vulnerable to Paraquat because PQ+ reacts with dopamine to increase oxidative stress.

      180.       In November 2012, Dr. Pei-Chen Lee published a study examining the

associations between traumatic brain injuries, Paraquat, and Parkinson’s disease.15 The

study found an association between Paraquat exposure and Parkinson’s.

      181.       In May 2013, Dr. Gianni Pezzoli published a meta-analysis examining




13
   R. Nisticó et al., Paraquat- and Rotenone-Induced Models of Parkinson’s Disease, 24
Int. J. Immunopathol. Pharmacol. 313-322 (2011).
14
   Phillip M. Rappold et al., Paraquat Neurotoxicity is Mediated by the Dopamine
Transporter and Organic Cation Tranpsorter-3, 108 Proc. Natl. Acad. Of Sci. U.S.A.
20766-20771 (2011).
15
   Pie-Chen Lee et al., Traumatic Brain Injury, Paraquat Exposure, and their
Relationship to Parkinson Disease, 79 Neurology 2061-2066 (2012).
                                           33
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seven studies on Paraquat exposure.16 The meta-analysis evaluated the seven studies

together and separately evaluated the highest quality studies; in both analyses, those

exposed to Paraquat were more likely to develop Parkinson’s disease.

       182.       In a memorandum from March 2, 2016, recommending mitigation

measures for Paraquat, the EPA acknowledged the numerous studies linking Paraquat to

Parkinson’s disease stating, “[t]here is a large body of epidemiology data on paraquat

dichloride use and Parkinson’s disease.”17

       183.   The kidney is the main organ responsible for paraquat excretion and Paraquat

is known to be highly nephrotoxic.           Dermal exposure to Paraquat has revealed

inflammatory cell infiltration, tubular necrosis and diffuse interstitial fibrosis.18 Paraquat

causes toxic chemical reactions to occur in the kidneys, and long-term effects, including

kidney failure, are possible.19

       184.   Extensive exposure to Paraquat, like that experienced by Plaintiff, have been

shown to more than double the risk of end stage renal disease.

       185.   Switzerland, where SAG maintains its headquarters, has not only prohibited

the use of Paraquat since 1989 but recently amended the law on chemical substances to

prohibit the export of Paraquat to help protect the health and environment in importing


16
   Gianni Pezzoli & Emanuele Cereda, Exposure to Pesticides or Solvents and Risk of
Parkinson Disease, 80 Neurology 2035-2041 (2013).
17
   Environmental Protection Agency, Paraquat Dichloride; Proposed Mitigation Decision
(March 2, 2016), https://www.regulations.gov/document/EPA-HQ-OPP-2011-0855-0031.
18
   Tungsanga K, Chusilp S, Israsena S, Sitprija v. Paraquat poisoning: evidence of
systemic toxicity after dermal exposure. Postgrad Med J 1983; 59(691):338-9.dd
19
   Centers for Disease Control and Prevention, Facts About Paraquat,
https://emergency.cdc.gov/agent/paraquat/basics/facts.asp.
                                             34
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countries, particularly in the developing world.20

       186.        The Ministry of Agriculture of the People’s Republic of China classifies

Paraquat as extremely toxic. Paraquat’s use or sale in China has been prohibited since

September 1, 2020.21

       187.        Paraquat use has been banned in the European Union since 2007.22

       188.        The manufacture, formulation, and distribution of herbicides, such as

Paraquat, are regulated under the Federal Insecticide, Fungicide, and Rodenticide Act

(“FIFRA”), 7 U.S.C. § 136 et seq. FIFRA requires that all pesticides be registered with the

Environmental Protection Agency (“EPA”) before their distribution, sale, or use, except as

described by FIFRA 7 U.S.C. § 136a(a).

       189.        The EPA requires the registrant of a pesticide to conduct a variety of tests

as part of the registration process to evaluate the potential for exposure to pesticides,

toxicity to people and other potential non-target organisms, and other adverse effects on

the environment.

       190.        Registration by the EPA is not an assurance or finding of safety. The

determination the EPA makes in registering or re-registering a product is not that the



20
   Switzerland bans the export of five toxic chemicals, including paraquat, MercoPress
(October 16, 2020 09:20 UTC), https://en.mercopress.com/2020/10/16/switzerland-bans-
the-export-of-five-toxic-chemicals-including-paraquat.
21
   Business Wire, 2018 Market Research on Paraquat in China, AP, (September 10,
2018), https://apnews.com/press-release/pr-
businesswire/0625d4cb368247b38ea803ff3842c203.
22
   EU Court Reimposes Ban on Paraquat Weedkiller, Reuters, July 11, 2007,
https://www.reuters.com/article/environment-eu-paraquat-dc/eu-court-reimposes-ban-on-
paraquat-weedkiller-idUSL1166680020070711.
                                              35
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product is “safe,” but rather that use of the product in accordance with its label directions

“will not generally cause unreasonable adverse effects on the environment.” 7 U.S.C. §

136(a)(c)(5)(D).

       191.    FIFRA defines “unreasonable adverse effects on the environment” to mean

“any unreasonable risk to man or the environment, taking into account the economic,

social, and environmental costs and benefits of the use of any pesticide.” 7 U.S.C. §

136(bb). FIFRA thus requires the EPA to make a risk/benefit analysis in determining

whether a registration should be granted or allowed to continue to be sold in commerce.

       192.    FIFRA generally requires that the registrant conduct health and safety testing

of pesticides. The government is not required to, nor does it generally, perform the product

tests that are required of the manufacturer.

       193.    Syngenta has long misrepresented and denied the harmful side effects of its

Paraquat-based products.

       194.         In response to growing concern about the safety of Paraquat, Syngenta

established a website at www.paraquat.com for the purpose of persuading the public that

Paraquat is safe.

       195.         Syngenta’s statements proclaiming the safety of Paraquat and

disregarding its dangers were designed to mislead the agricultural community and the

public at large, including Plaintiff.

       196.    As of the filing of this Complaint, www.paraquat.com has been taken down

by Syngenta.



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       197.      Defendants knew or should have known that Paraquat was a highly toxic

substance that can cause severe neurological injuries and impairment.

       198.      Defendants failed to appropriately and adequately test its Paraquat-based

products to protect individuals like Plaintiff from the hazards of exposure to Paraquat.

       199.      Despite its knowledge that exposure to Paraquat was dangerous,

Defendants continued to promote their Paraquat-based products as safe.

       200.      In fact, in 2003, when Syngenta was dealing with lawsuits regarding

another toxic herbicide, atrazine, it was reported that “Sherry Ford, the communications

manager, wrote in her notebook that the company ‘should not phase out [atrazine] until we

know about’ the Syngenta herbicide Paraquat, which has also been controversial, because

of studies showing that it might be associated with Parkinson’s disease. She noted that

atrazine ‘focuses attention away from other products.’”23

       201.      Defendants’ failure to adequately warn Plaintiff resulted in: (1) Plaintiff

being exposed to Paraquat; and (2) scientists and physicians failing to warn and instruct

the public, particularly those living in agricultural areas where Paraquat-based pesticides

are heavily sprayed, about the risk of Parkinson’s disease and renal disease with exposure

to Paraquat.

       202.      By reason of the foregoing, Plaintiff is severely and permanently injured

and has been diagnosed with Parkinson's Disease.




23
  Rachel Aviv, A Valuable Reputation, The New Yorker, (Feb 3, 2014),
https://www.newyorker.com/magazine/2014/02/10/a-valuable-reputation.
                                            37
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       203.      By reason of the foregoing acts and omissions, Plaintiff has endured and

continues to suffer, emotional and mental anguish, medical expenses, and other economic

and non-economic damages, as a result of Defendants’ actions and inactions.

       204.      Plaintiff was regularly exposed to Paraquat as a result of direct exposure

via handling, mixing, applying, spraying, cleaning up and storing Paraquat.

       205.      Plaintiff subsequently began experiencing symptoms of Parkinson’s

disease in approximately late 2015 and was officially diagnosed with Parkinson’s disease

in approximately April 2016.

       206.      As a result of Plaintiff’s injuries, Plaintiff has incurred significant

economic and non-economic damages.

       207.      Plaintiff was directly exposed to Defendants’ Paraquat products from

approximately 1966 through 1985 when he lived on his father’s farm northwest of

Belgrade, Minnesota in Stearns County, Minnesota. In 1976, he began working with his

father on the farm in all aspects of farming including mixing and spraying Paraquat as

needed. Part of his duties were to participate in the application of Paraquat through mixing

and spraying. In the beginning he would help his father mix the Paraquat and would walk

the land with a sprayer, while his father would spray from a tractor. As he got older he

was also enlisted to drive the tractor with a single boom sprayer that was around 30 feet

wide which had around a 300 gallon tank on the back from which they would spray

Paraquat on the corn, soybeans and oat crops as needed to control the weeds.




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       208.       During the entire time that Plaintiff was exposed to Paraquat, Plaintiff did

not know that exposure to Paraquat when handled according to the instructions could be

injurious to Plaintiff or others.

       209.       Plaintiff first learned that exposure to Paraquat can cause Parkinson’s

disease, end stage renal disease, and other serious illnesses sometime after January 2021.

                                COUNT I – NEGLIGENCE

       210.       Plaintiff re-alleges each paragraph above as if fully set forth herein.

       211.       Defendants had a duty to exercise ordinary care in the designing,

researching, testing, manufacturing, marketing, supplying, promoting, packaging, sale,

and/or distribution of Paraquat products into the stream of commerce, including a duty to

assure that the product would not cause those exposed to it to suffer unreasonable and

dangerous side effects.

       212.       Defendants failed to exercise ordinary care in the designing, researching,

testing, manufacturing, marketing, supplying, promoting, packaging, sale, quality

assurance, quality control, and/or distribution of Paraquat products in that Defendants knew

or should have known that persons foreseeably exposed to Paraquat products were placed

at a high risk of suffering unreasonable and dangerous side effects, including, but not

limited to, the development of Parkinson’s disease or renal disease, as well as other severe

and personal injuries that are permanent and lasting in nature; physical pain and mental

anguish, including diminished enjoyment of life; and a need for lifelong medical treatment,

monitoring, and/or medications.



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      213.        The negligence by Defendants, their agents, servants, and/or employees,

included but was not limited to the following acts and/or omissions:

             a.      Manufacturing, producing, promoting, formulating, creating, and/or
                     designing Paraquat products without thoroughly testing it;

             b.      Failing to test Paraquat products and/or failing to adequately,
                     sufficiently, and properly test Paraquat products;

             c.      Not conducting sufficient testing programs to determine whether
                     Paraquat products were safe for use -- Defendants knew or should
                     have known that Paraquat products were unsafe and unfit for use
                     because of the dangers to those exposed to it;

             d.      Not conducting sufficient testing programs and studies to determine
                     Paraquat product’s effects on human health even after Defendants had
                     knowledge of studies linking Paraquat products to latent neurological
                     damage and neurodegenerative disease, including Parkinson’s
                     disease, and renal disease;

             e.      Negligently failing to adequately and correctly warn the Plaintiff, the
                     public, the medical and agricultural professions, and the EPA of the
                     dangers of Paraquat products;

             f.      Failing to provide adequate cautions and warnings to protect the
                     health of persons who would reasonably and foreseeably be exposed
                     to Paraquat products;

             g.      Negligently marketing, advertising, and recommending the use of
                     Paraquat products without sufficient knowledge as to its dangerous
                     propensities;

             h.      Negligently representing that Paraquat products were safe for use for
                     its intended purpose when, in fact, it was unsafe;

             i.      Negligently representing that Paraquat products had equivalent safety
                     and efficacy as other forms of herbicides;

             j.      Negligently designing Paraquat products in a manner that was
                     dangerous to others;

             k.      Negligently manufacturing Paraquat products in a manner that was

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                     dangerous to others;

             l.      Negligently producing Paraquat products in a manner that was
                     dangerous to others;

             m.      Negligently formulating Paraquat products in a manner that was
                     dangerous to others;

             n.      Concealing information from the Plaintiff while knowing that
                     Paraquat products were unsafe, dangerous, and/or non-conforming
                     with EPA regulations;

             o.      Improperly concealing and/or misrepresenting information from the
                     Plaintiff, scientific and medical professionals, and/or the EPA,
                     concerning the severity of risks and dangers of Paraquat products
                     compared to other forms of herbicides; and

             p.      Negligently selling Paraquat products with a false and misleading
                     label.

      214.        Defendants under-reported, underestimated, and downplayed the serious

dangers of Paraquat products.

      215.        Defendants were negligent in the designing, researching, supplying,

manufacturing, promoting, packaging, distributing, testing, advertising, warning,

marketing, and selling of Paraquat products in that Defendants:

             a.      Failed to use ordinary care in designing and manufacturing Paraquat
                     products so as to avoid the aforementioned risks to individuals when
                     paraquat was used as an herbicide;

             b.      Failed to accompany Paraquat products with proper and/or accurate
                     warnings regarding all possible adverse effects associated with
                     exposure to paraquat;

             c.      Failed to warn Plaintiff of the severity and duration of such adverse
                     effects, as the warnings given did not accurately reflect the symptoms,
                     or severity of the effects including, but not limited to, developing
                     Parkinson’s disease or renal disease;


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              d.      Failed to conduct adequate testing, clinical testing and post-marketing
                      surveillance to determine the safety of Paraquat products;

              e.      Misrepresented the evidence of paraquat’s neurotoxicity; and

              f.      Was otherwise careless and/or negligent.

       216.        Despite the fact that Defendants knew or should have known that

Paraquat products caused, or could cause, unreasonably dangerous health effects,

Defendants continue to market, manufacture, distribute, and/or sell Paraquat products to

consumers.

       217.        Defendants knew or should have known that consumers like Plaintiff

would foreseeably suffer injury as a result of Defendants’ failure to exercise ordinary care.

       218.        Defendants’ negligence was the proximate cause of Plaintiff’s injuries,

harm and economic loss, which Plaintiff suffered and will continue to suffer.

       219.        As a result of the foregoing acts and omissions, Plaintiff suffers from

Parkinson’s disease and related health issues, which are permanent and lasting in nature,

physical disability, mental anguish, including diminished enjoyment of life, as well as

financial expenses for hospitalization and medical care.

       WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in

Plaintiff’s favor for compensatory damages, together with interest, costs herein incurred,

attorneys’ fees and all relief as this Court deems just and proper.

               COUNT II – STRICT LIABILITY (DESIGN DEFECT)

       220.        Plaintiff re-alleges each paragraph above as if fully set forth herein.

       221.        At all times herein mentioned, Defendants designed, researched,


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manufactured, tested, advertised, promoted, sold, and/or distributed Paraquat products as

described above to which Plaintiff was exposed.

       222.      Paraquat products were expected to and did reach the usual consumers,

handlers, and persons coming into contact with it without substantial change in the

condition in which they were produced, manufactured, sold, distributed, and/or marketed

by Defendants.

       223.      At those times, paraquat products were in an unsafe, defective condition

that was unreasonably dangerous to users, and in particular, to the Plaintiff.

       224.      For many years, Plaintiff was exposed to Defendants’ Paraquat products

regularly and repeatedly for hours at a time resulting in regular, repeated, and prolonged

exposure of Plaintiff to Paraquat.

       225.      The Paraquat products designed, researched, manufactured, tested,

advertised, promoted, marketed, sold, and/or distributed by Defendants were defective in

design or formulation in that, when they left the hands of the manufacturer and/or suppliers,

the foreseeable risks exceeded the benefits associated with the design or formulation of the

Paraquat products.

       226.      The Paraquat products designed, researched, manufactured, tested,

advertised, promoted, marketed, sold, and/or distributed by Defendants were defective in

design and/or formulation, in that, when they left the hands of Defendants or their

manufacturers and/or suppliers, they were unreasonably dangerous, unreasonably

dangerous in normal use, and they were more dangerous than an ordinary consumer would

expect. On balance, the unreasonable risks posed by Paraquat products outweighed the

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benefits of their design.

       227.        At all relevant times, Paraquat products were in a defective condition and

unsafe, and Defendants knew or had reason to know they were defective and unsafe,

especially when used in the form and manner as intended by Defendants. In particular, the

Paraquat products were defective in the following ways:

              a.      Paraquat products were designed, manufactured, formulated, and
                      packaged such that when so used, Paraquat was likely to be inhaled,
                      ingested, and absorbed into the bodies of persons who used them,
                      while they were being used, or entered fields or orchards where they
                      have been sprayed or areas near where they had been sprayed; and

              b.      when inhaled, ingested, or absorbed into the bodies of persons who
                      used them, were nearby while they were being used, or entered fields
                      or orchards where they had been sprayed or areas near where they had
                      been sprayed, Paraquat was likely to cause or contribute to cause
                      latent, permanent, and cumulative neurological or renal damage, and
                      repeated neurodegenerative disease, including Parkinson’s disease to
                      develop over time and manifest long after exposure.

       228.   In breach of their duty to Plaintiff, Defendants acted negligently, and in

conscious disregard for the safety of others:

              a.      failed to design, manufacture, formulate, and package Defendants’
                      Paraquat products to make Paraquat unlikely to be inhaled, ingested,
                      and absorbed into the bodies of persons who used them, were nearby
                      while they were being used, or entered fields or orchards where they
                      had been sprayed or areas near where they had been sprayed;

              b.      designed and manufactured Paraquat and designed and formulated
                      Defendants’ Paraquat products such that when inhaled, ingested, or
                      absorbed into the bodies of persons who used Defendants’ Paraquat
                      products, were nearby while they were being used, or entered fields
                      or orchards where they had been sprayed or areas near where they had
                      been sprayed, Paraquat was likely to cause latent, cumulative, and
                      permanent neurological or renal damage, and repeated exposures were
                      likely to cause or contribute to cause clinically significant renal or
                      neurodegenerative disease, including Parkinson’s disease, to develop

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          over time and manifest long after exposure;

    c.    failed to perform adequate testing to determine the extent to which
          exposure to Paraquat was likely to occur through inhalation, ingestion,
          and absorption; into the bodies of persons who used them, were
          nearby while they were being used, or entered fields or orchards where
          they had been sprayed or areas near where they had been sprayed;

    d.    failed to perform adequate testing to determine the extent to which
          spray drift from Defendants’ Paraquat products was likely to occur,
          including their propensity to drift, the distance they were likely to
          drift, and the extent to which Paraquat spray droplets were likely to
          enter the bodies of persons spraying Defendants’ Paraquat products or
          nearby during or after spraying;

    e.    failed to perform adequate testing to determine the extent to which
          Paraquat, when inhaled, ingested, or absorbed into bodies of persons
          who used Defendants’ Paraquat products, were nearby while they
          were being used, or entered fields or orchards where they had been
          sprayed or areas near where they had been sprayed, was likely to cause
          or contribute to cause latent, cumulative, and permanent neurological
          or renal damage, and the extent to which repeated exposures were
          likely to cause or contribute to cause clinically significant renal or
          neurodegenerative disease, including Parkinson’s disease, to develop
          over time and manifest long after exposure;

    f.    failed to perform adequate testing to determine the extent to which
          Paraquat, when formulated or mixed with surfactants or other
          pesticides, and inhaled, ingested, or absorbed into the bodies of
          persons who used Defendants’ Paraquat products, were nearby while
          they were being used, or entered fields or orchards where they had
          been sprayed or areas near where they had been sprayed, was likely
          to cause or contribute to cause latent, cumulative, and permanent
          neurological or renal damage, and the extent to which repeated
          exposures were likely to cause or contribute to cause significant renal
          or neurodegenerative disease, including Parkinson’s disease, to
          develop over time and manifest long after exposure;

    g.    failed to direct that Defendants’ Paraquat products be used in a
          manner that would have made it unlikely for Paraquat to have been
          inhaled, ingested, or absorbed into the bodies of persons who used
          Defendants’ Paraquat products, were nearby while they were being
          used, or entered fields or orchards where they had been sprayed or

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                     areas near where they had been sprayed; and

             h.      failed to warn that when inhaled, ingested, or absorbed into the bodies
                     of persons who used Defendants’ Paraquat products, were nearby
                     while they were being used, or entered fields or orchards where they
                     had been sprayed or areas near where they had been sprayed, Paraquat
                     was likely to cause or contribute to cause significant renal or
                     neurodegenerative disease, including Parkinson’s disease, to develop
                     over time and manifest long after exposure.

      229.        Defendants knew or should have known that at all relevant times that their

Paraquat products were in a defective condition and were (and are) unreasonably dangerous

and unsafe and would create a substantial risk of harm to persons who used them, were

nearby while Paraquat products were being used, or entered fields or orchards where

Paraquat products had been sprayed or areas near where Paraquat products had been

sprayed.

      230.        Armed with this knowledge, Defendants voluntarily designed their

Paraquat products with a dangerous condition knowing that in normal, intended use,

consumers such as Plaintiff would be exposed to it.

      231.        Plaintiff was exposed to Paraquat without knowledge of Paraquat’s

dangerous characteristics.

      232.        At the time of Plaintiff’s exposure to Paraquat, Paraquat was being used

for the purposes and in a manner normally intended, as a broad-spectrum pesticide.

      233.        The Paraquat products designed, researched, manufactured, tested,

advertised, promoted, marketed, sold, and/or distributed by Defendants reached their

intended users in the same defective and unreasonably dangerous condition in which it was

manufactured.

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       234.       Defendants designed, researched, manufactured, tested, advertised,

promoted, marketed, sold, and/or distributed a defective product, which created an

unreasonable risk to the consumer and to Plaintiff in particular, and Defendants are

therefore strictly liable for the injuries sustained by Plaintiff.

       235.       Plaintiff could not, by the exercise of reasonable care, have discovered

Paraquat’s defects herein mentioned or perceived its danger.

       236.       Defendants are thus strictly liable to Plaintiff for the manufacturing,

marketing, promoting, distribution, and/or selling of a defective product which they

negligently designed.

       237.       Defendants’ defective design of Paraquat products amounts to willful,

wanton, and/or reckless conduct.

       238.       As a direct and proximate result of the defects in Defendants’ Paraquat

products were the cause or a substantial factor in causing Plaintiff’s injuries.

       239.       As a result of the foregoing acts and omissions, Plaintiff suffered severe

and personal injuries as alleged above that are permanent and lasting in nature, physical

pain, and mental anguish, including diminished enjoyment of life, and financial expenses

for hospitalization and medical care.

       WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in

Plaintiff’s favor for compensatory damages, together with interest, costs herein incurred,

attorneys’ fees and all relief as this Court deems just and proper.

              COUNT III – STRICT LIABILITY (FAILURE TO WARN)

       240.       Plaintiff re-alleges each paragraph above as if fully set forth herein.

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       241.        Defendants engaged in the business of selling, testing, distributing,

supplying, manufacturing, marketing, and/or promoting Paraquat, and through that conduct

have knowingly and intentionally placed Paraquat into the stream of commerce with full

knowledge that it reaches consumers such as Plaintiff who was exposed to it through

ordinary and reasonably foreseeable uses.

       242.        Defendants did in fact sell, distribute, supply, manufacture, and/or

promote Paraquat products. Additionally, Defendants expected the Paraquat that they were

selling, distributing, supplying, manufacturing, and/or promoting to reach Plaintiff without

any substantial change in the condition of the product from when it was initially distributed.

       243.        At the time of manufacture, Defendants knew, or in the exercise of

ordinary care, should have known that:

              a.      Defendants’ Paraquat products were designed, manufactured,
                      formulated, and packaged such that it was likely to be inhaled,
                      ingested, and absorbed into the bodies of people who used it, who
                      were nearby when it was being used, or who entered fields or orchards
                      where it had been sprayed or areas near where it had been sprayed;
                      and

              b.      when inhaled, ingested, or absorbed into the body, it was likely to
                      cause latent neurological or renal damage that was both permanent
                      and cumulative, and that repeated exposures were likely to cause renal
                      or neurodegenerative disease, including Parkinson’s disease.

       244.        At all relevant times, Defendants’ Paraquat products were in a defective

condition such that they were unreasonably dangerous to those exposed to them and was

so at the time they were distributed by Defendants and at the time Plaintiff was exposed to

and/or ingested the product. The defective condition of Paraquat was due in part to the fact

that it was not accompanied by proper warnings regarding its toxic qualities and possible

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health effects, including, but not limited to, developing Parkinson’s disease or renal disease

as a result of exposure. That defective condition was not a common propensity of the

Paraquat products that would be obvious to a user of those products.

       245.       Defendants’ Paraquat products did not contain a necessary warning or

caution statement that, if complied with, would have been adequate to protect the health of

those exposed in violation of 7 U.S.C. § 136j(a)(1)(E).

       246.       Defendants failed to include a necessary warning or caution statement

that, if complied with, would have been adequate to protect the health of those exposed.

       247.       Defendants could have revised Paraquat’s label to provide additional

warnings.

       248.       This defect caused serious injury to Plaintiff, who was exposed to

Paraquat in its intended and foreseeable manner.

       249.       At all relevant times, Defendants had a duty to properly design,

manufacture, compound, test, inspect, package, label, distribute, market, examine,

maintain supply, provide proper warnings, and take such steps to assure that the product

did not cause users to suffer from unreasonable and dangerous side effects.

       250.       Defendants labeled, distributed, and promoted a product that was

dangerous and unsafe for the use and purpose for which it was intended.

       251.       Defendants failed to warn of the nature and scope of the health risks

associated with Paraquat, namely its toxic properties and its propensity to cause or serve

as a substantial contributing factor in the development of Parkinson’s disease or renal

disease.

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       252.           Defendants knew of the probable consequences of exposure to Paraquat.

Despite this fact, Defendants failed to exercise reasonable care to warn of the dangerous

toxic properties and risks of developing Parkinson’s disease or renal disease from Paraquat

exposure, even though these risks were known or reasonably scientifically knowable at the

time of distribution. Defendants willfully and deliberately failed to avoid the consequences

associated with its failure to warn, and in doing so, acted with conscious disregard for

Plaintiff’s safety.

       253.           At the time of exposure, Plaintiff could not have reasonably discovered

any defect in Paraquat through the exercise of reasonable care.

       254.           Defendants, as manufacturers and/or distributors of Paraquat, are held to

the level of knowledge of an expert in the field. There was unequal knowledge with respect

to the risk of harm, and Defendants, as manufacturers of Paraquat products possessed

superior knowledge and knew or should have known that harm would occur in the absence

of a necessary warning.

       255.           Plaintiff reasonably relied on the skill, superior knowledge, and judgment

of Defendants.

       256.           Had Defendants properly disclosed the risks associated with Paraquat,

Plaintiff would have taken steps to avoid exposure to Paraquat.

       257.           The information that Defendants provided failed to contain adequate

warnings and precautions that would have enabled users to use the product safely and with

adequate protection. Instead, Defendants disseminated information that was inaccurate,

false, and misleading and that failed to communicate accurately or adequately the

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comparative severity, duration, and extent of the risk of injuries associated with use of

and/or exposure to Paraquat; continued to promote the efficacy of Paraquat, even after they

knew or should have known of the unreasonable risks from exposure; and concealed,

downplayed, or otherwise suppressed, through aggressive marketing and promotion, any

information or research about the risks and dangers of exposure to Paraquat.

       258.       To this day, Defendants have failed to adequately warn of the true risks

of exposure to Paraquat, including the risks manifested by Plaintiff’s injuries associated

with exposure to Paraquat.

       259.       As a result of its inadequate warnings, Paraquat was defective and

unreasonably dangerous when it left Defendants’ possession and/or control, was

distributed by Defendants, and when Plaintiff was exposed to it.

       260.       As a direct and proximate result, Plaintiff developed Parkinson’s disease,

and suffered severe and personal injuries that are permanent and lasting in nature, physical

pain and mental anguish, including diminished enjoyment of life, and financial expenses

for hospitalization and medical care.

       261.       WHEREFORE, Plaintiff respectfully request that this Court enter

judgment in Plaintiff’s favor for compensatory damages, together with interest, costs herein

incurred, attorneys’ fees and all relief as this Court deems just and proper.

                     COUNT IV - VIOLATION OF
          MINNESOTA FALSE STATEMENTS IN ADVERTISING ACT

       262.       Plaintiff incorporates by reference all of the above-stated paragraphs as

though fully set forth therein.


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       263.      At all relevant times, Chevron Defendants, the Syngenta Defendants, and

their corporate predecessors designed, manufactured, distributed, and sold Paraquat for use

in the State of Minnesota and throughout the United States.

       264.      Chevron Defendants, the Syngenta Defendants, and their corporate

predecessors produced and published advertisements and deceptive and misleading

statements regarding the safety and risks of Paraquat despite knowing of its inherent defects

with the intent to sell Paraquat in Minnesota.

       265.      Chevron Defendants, the Syngenta Defendants, and their corporate

predecessors concealed their deceptive practices in order to increase and sale of and profit

from Paraquat. Defendants violated the Minnesota False Statements in Advertising Act,

Min. Stat. § 325F.67, et seq., when they failed to adequately warn and instruct, or otherwise

mislead consumers (including Plaintiff) of the safety risks associated with Paraquat.

       266.       Chevron Defendants, the Syngenta Defendants, and their corporate

predecessors violated Minn. Stat. § 325F.67 by intending to sell and create customer

demand for Paraquat by using deceptive or untrue statements of fact about Paraquat’s

safety and risks associated with it through promotional materials, including but not limited

to, Defendants’ website, sales representatives and brochures distributed to consumers. The

cumulative effect of Defendants’ conduct directed at consumers was to create demand for

and sell Paraquat. Each aspect of Defendants’ conduct combined to artificially create sales

of Paraquat.




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          267.    Plaintiff’s father, who purchased the Paraquat, relied upon Chevron

Defendants’,     the   Syngenta    Defendants’,    and    their   corporate   precedessors’

misrepresentations and omissions in determining which product to use.

          268.    Had Chevron Defendants, the Syngenta Defendants, and their corporate

predecessors not engaged in the deceptive conduct described above, Plaintiff’s father

would not have purchased and/or paid for Paraquat, and Plaintiff would not have incurred

related treatment and medical costs.

          269.    As a direct and proximate result of Chevron Defendants’, the Syngenta

Defendants’, and their corporate predecessors’ deceptive, unfair, unconscionable, and

fraudulent conduct and violation of Minn. Stat. § 325F.67, et seq., Plaintiff was injured by

the cumulative and indivisible nature of Defendants’ conduct in that Plaintiff’s father paid

substantial sums for the Paraquat and Plaintiff paid for the costs of treating the associated

injury.

          270.    The Minnesota False Statement in Advertising Act applies to Plaintiff’s

father’s transactions with Chevron Defendants, the Syngenta Defendants, and their

corporate predecessors because Chevron Defendants, the Syngenta Defendants, and their

corporate predecessors deceptive scheme was carried out in Minnesota and Plaintiff’s

father purchased Defendants’ Paraquat within Minnesota. Plaintiff’s father and Plaintiff

prepared, used and were exposed to Defendants’ Paraquat within Minnesota.

          271.    As a direct and proximate result of the violations of Minn. Stat. § 325F.67

et seq., by Chevron Defendants, the Syngenta Defendants, their corporate predecessors,

and others with whom they acted in concert. Plaintiff developed neurological injuries; has

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suffered severe and permanent physical pain, mental anguish, and disability, and will

continue to do so for the remainder of his life; has suffered the loss of a normal life and

will continue to do so for the remainder of his life; has lost income that he otherwise would

have earned and will continue to do so for the remainder of his life; and has incurred

reasonable expenses for necessary medical treatment and will continue to do so for the

remainder of his life.

       272.       WHEREFORE, Plaintiff respectfully requests that this Court enter

judgment in Plaintiff’s favor for compensatory damages, together with interest, costs herein

incurred, attorneys’ fees and all relief as this Court deems just and proper.

                      COUNT V – VIOLATION OF THE
              MINNESOTA PREVENTION OF CONSUMER FRAUD ACT


       273.       Plaintiff incorporates by reference all of the above-stated paragraphs as

though fully set forth therein.

       274.       At all relevant times, Chevron Defendants, the Syngenta Defendants,

their corporate predecessors, and others with whom they acted in concert designed,

manufactured, distributed, advertised, promoted, and sold Paraquat.

       275.      Chevron Defendants, the Syngenta Defendants, their corporate

predecessors, and others with whom they acted in concert produced and published

advertisements and deceptive and misleading statements regarding the safety of the

Paraquat after learning of their inherent defects with the intent to sell the Paraquat.




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       276.       Chevron Defendants, the Syngenta Defendants, their corporate

predecessors, and others with whom they acted in concert concealed their deceptive

practices in order to increase the sale of and profit from Paraquat in Minnesota.

       277.      Chevron Defendants, the Syngenta Defendants, their corporate

predecessors, and others with whom they acted in concert violated the Minnesota

Consumer Fraud Act, Minn. Stat. § 325F.68 et seq., when they failed to comply with

FIFRA requirements and when they failed to adequately warn consumers of the safety risks

associated with Paraquat.

       278.      Chevron Defendants, the Syngenta Defendants, their corporate

predecessors, and others with whom they acted in concert violated Minn. Stat. § 325F.68

by intending to sell and create customer demand for Paraquat by using deceptive or untrue

statements of fact about Paraquat’s safety through promotional materials, including but not

limited to, Defendants’ website, sales representatives and brochures distributed to

consumers.

       279.      As a direct result of Defendants’ deceptive, unfair, unconscionable, and

fraudulent conduct and violation of Minn. Stat. § 325F.68 et seq., Plaintiff was injured in

that Plaintiff’s father paid substantial sums for the Paraquat and Plaintiff paid for the costs

of treating the associated injury that they would not have paid had Chevron Defendants,

the Syngenta Defendants, their corporate predecessors, and others with whom they acted

in concern not engaged in unfair and deceptive conduct.

       280.      The Minnesota Consumer Fraud Act applies to Plaintiff’s father’s

transactions with Chevron Defendants, the Syngenta Defendants, and their corporate

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predecessors, and others with whom they acted in concert because their deceptive scheme

was carried out in Minnesota and Plaintiff’s father purchased Defendants’ Paraquat within

Minnesota. Plaintiff’s father and Plaintiff prepared, used and were exposed to Defendants’

Paraquat within Minnesota.

       281.      As a direct and proximate result of the violations of Minn. Stat. § 325F.68

et seq., by Chevron Defendants, the Syngenta Defendants, their corporate predecessors,

and others with whom they acted in concert. Plaintiff developed neurological injuries; has

suffered severe and permanent physical pain, mental anguish, and disability, and will

continue to do so for the remainder of his life; has suffered the loss of a normal life and

will continue to do so for the remainder of his life; has lost income that he otherwise would

have earned and will continue to do so for the remainder of his life; and has incurred

reasonable expenses for necessary medical treatment and will continue to do so for the

remainder of his life.

       282.      WHEREFORE, Plaintiff respectfully requests that this Court enter

judgment in Plaintiff’s favor for compensatory damages, together with interest, costs herein

incurred, attorneys’ fees and all relief as this Court deems just and proper.

 COUNT VI – BREACH OF IMPLIED WARRANTY OF MERCHANTIBILITY


       283.       Plaintiff incorporates by reference all of the above-stated paragraphs as

though fully set forth therein.

       284.       At all relevant times, Defendants were engaged in the business of selling

Paraquat products and was a merchant with respect to those products.


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       285.      At all relevant times, Defendants intended and expected that Defendants’

Paraquat products would be sold and used.

       286.      Defendants developed, manufactured, distributed, and sold Paraquat for

use in formulating Defendants’ Paraquat products, and developed, registered, formulated,

and distributed Defendants’ Paraquat products for sale in the United States.

       287.      Plaintiff was exposed Defendants’ Paraquat products regularly and

repeatedly, for hours at a time, resulting in regular, repeated, and prolonged exposure to

Paraquat.

       288.      At the time of each sale of Defendants’ Paraquat products that resulted in

Plaintiff’s exposure to paraquat, Defendants impliedly warranted that Defendants’

Paraquat products were of merchantable quality, including that they were fit for the

ordinary purposes for which such goods were used.

       289.      Defendants breached this warranty as to each sale of Defendants’

Paraquat products that resulted in Plaintiff’s exposure to Paraquat, in that Defendants’

Paraquat products were not of merchantable quality because they were not fit for the

ordinary purpose for which such goods were used by Plaintiff who was either in direct

privity with Defendants through purchase of the Paraquat products or was an employee of

the purchaser to whom the warranty was directly made and, therefore, an intended third-

party beneficiary of such warranties.

       290.      As a direct and proximate result of the breaches of the implied warranty

of merchantability by Defendants, Plaintiff developed Parkinson’s disease, and suffered

severe and personal injuries that are permanent and lasting in nature, physical pain and

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mental angsh, including diminished enjoyment of life, and financial expenses for

hospitalization and medical care.

       291.       WHEREFORE, Plaintiff respectfully requests that this Court enter

judgment in Plaintiff’s favor for compensatory damages, together with interest, costs herein

incurred, attorneys’ fees and all relief as this Court deems just and proper.

                 COUNT VII – WILFUL AND WANTON CONDUCT

       292.       Plaintiff incorporates by reference all of the above-stated paragraphs as

though fully set forth therein.

       293.       Defendants are guilty of one or more of the following acts or omissions

amounting to willful and wanton misconduct:

                a. Intentionally or with a reckless disregard for the safety of Plaintiff,
                    negligently designing, manufacturing, distributing, and failing to warn
                    of the dangers of Paraquat, even though it was completely foreseeable
                    and could or should have been anticipated that persons such as Plaintiff
                    working with or around Paraquat would inhale, ingest, absorb, or
                    otherwise be exposed to great amounts of Paraquat;

                b. Intentionally or with a reckless disregard for the safety of Plaintiff,
                    negligently designing, manufacturing, distributing, and failing to warn
                    of the dangers of Paraquat when the Defendants knew or should have
                    known that Paraquat would have a toxic, poisonous and highly
                    deleterious effect upon the health of persons inhaling, ingesting,
                    absorbing, or otherwise being exposed to Paraquat;

                c. Intentionally or with a reckless disregard for the safety of Plaintiff,
                    included Paraquat in its products when adequate substitutes (or safer
                    formulations) were available;

                d. Intentionally or with a reckless disregard for the safety of Plaintiff,
                    failed to provide any or adequate warnings to persons working with or
                    likely to be exposed to Paraquat of the dangers of inhaling, ingesting,
                    absorbing or otherwise being exposed to Paraquat;


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                e. Intentionally or with reckless disregard for the safety of Plaintiff, failed
                    to provide any or adequate instructions concerning the safe methods of
                    working with and around Paraquat, including specific instructions on
                    how to avoid inhaling, ingesting or otherwise absorbing Paraquat; and

                f. Intentionally or with a reckless disregard for the safety of Plaintiff,
                    failed to conduct tests on Paraquat products manufactured, sold or
                    delivered by the Defendants in order to determine the hazards to which
                    workers/farm owners such as Plaintiff might be exposed while working
                    with Paraquat products.

       294.       As a direct and proximate result of the breaches of the implied warranty

of merchantability by Defendants, Plaintiff developed Parkinson’s disease, and suffered

severe and personal injuries that are permanent and lasting in nature, physical pain and

mental anguish, including diminished enjoyment of life, and financial expenses for

hospitalization and medical care.

       295.       WHEREFORE, Plaintiff respectfully requests that this Court enter

judgment in Plaintiff’s favor for compensatory damages, together with interest, costs herein

incurred, attorneys’ fees and all relief as this Court deems just and proper.

                       COUNT VIII – LOSS OF CONSORTIUM

       296.       Plaintiff Robin Michels hereby refers to, incorporates, and re-alleges by

this reference as though set forth in full, each and every allegation hereinabove and

makes them a part of the following allegations.

       297.       At all times herein mentioned, Plaintiff Robin Michels was and remains

the lawful spouse of Plaintiff Jeffery Michels.

       298.       As a direct, legal, and proximate result of the culpability and fault of

defendants, and each of them, Plaintiff Robin Michels has suffered the loss of her


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spouse’s support, service, love, companionship, affection, society, intimate relations, and

other elements of consortium, all to general damages in an amount in excess of the

jurisdictional minimum of this Court.

       299.       WHEREFORE, Plaintiff respectfully requests that this Court enter

judgment in Plaintiff’s favor for compensatory damages, together with interest, costs herein

incurred, attorneys’ fees and all relief as this Court deems just and proper.

                              DEMAND FOR JURY TRIAL

   Plaintiff hereby demands trial by jury as to all issues.

                                 PRAYER FOR RELIEF

   WHEREFORE, Plaintiff requests this Court to enter judgment in Plaintiff’s favor and

against the Defendants for:

   a. actual or compensatory damages in such amount to be determined at trial and as

provided by applicable law;

   b. pre-judgment and post-judgment interest;

   c. costs including reasonable attorneys’ fees, court costs, and other litigation

expenses; and

   d. any other relief the Court may deem just and proper.

 Dated this 21st day of March 2022.        Respectfully submitted,

                                           /s/Jason P. Johnston_____________________
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